
Morsell, J.,
concurred.
Mr. Brent then moved to amend the verdict so as to make it applicable to the second count only ; and cited Bernard v. Whit*443ing, 7 Mass. Rep. 358; 2 Tidd, 770; Williams v. Breedon, 1 B.&amp;P. 329.
Mr. Key, contrá. In the case of Williams v. Breedon, (1 B. &amp; P. 329,) there was a certificate of the judge that the jury gave their verdict for damages upon evidence applicable only to the good count; and therefore the Court had a right to alter the verdict, which was general, so as to apply it only to the good count, and to enter a verdict for the defendant upon the other count. But in the present ease there was no such certificate, nor any other means of knowing on which count the jury found their verdict ; and in the same ease of Williams v. Breedon, the Court said that as there was evidence applicable to both counts, if there had been no other evidence to show on what ground the damages were given by the jury, it would not be competent for the Court to alter the verdict. Stephenson v. Hayden, 2 Mass. Rep. 406; Barnes v. Hurd, 11 Id. 57, 58; Sheely v. Biggs, 2 Har. &amp; John. 364.
But the second count is as bad as the first. There is no scien~ ter that the defendant sold the slave with intent that she should be carried out of the district.
Cranch, C. J. The only misrepresentation of fact, stated in this second count, is, that the defendant represented that he “ desired” the slave “for his own use;” but that representation is not averred to be false; it is not averred that the defendant did not desire the slave for his own use.
The other supposed misrepresentations are only breaches of promise or contract, for the performance of which, the plaintiff relied upon the credit of the defendant.
It is true, that the plaintiff “ declares that the said representation, declarations, and promises, were utterly false and deceitful,” and that “ at the time the defendant gave himself out as wishing to purchase the slave upon the conditions,” &amp;c., “ and for his own use,” &amp;c., he had engaged to sell the slave to a negro-trader who he knew wanted to transport her, &amp;c.; but this is no direct denial that the defendant “ desired the slave for his own use.”
If this count is to be considered a count for money obtained by false pretences, the pretence should have been distinctly averred, and its truth denied in terms.
The mere non-performance of a promise is not such a deceit as will support an action of deceit. The remedy is an action of assumpsit, to which the general issue is not, not guilty, but non assumpsit.
I am, therefore, of opinion, that the second count as well as the first is bad, and that judgment must be arrested upon both.
The other judges concurred.
*444Judgment arrested upon both counts.
Mr. Brent then moved for leave to amend the declaration, and for a venire de novo ; and cited the case of Golding v. Good, in this Court, at December term, 1821, (not reported,) and Semmes v. Sherburne, at December term, 1825, (2 Cranch, C. C. 446,) in which case it is said judgment was arrested for a fault in the declaration, and the Court gave leave to amend on payment of the costs of the term; but I have no note of the point, and no note of the case of Golding v. Good. Cur. ad. vult.
The CouRT, (nem. con.) at November term, 1838, refused leave to amend.
